Case 2:O4-CV-02027-SHI\/|-STA Document 48 Filed 06/10/05 Page 1 of 3 Page|D 50

IN THE UNITED sTATEs I)ISTRICT coURT ~~ _~ D.c,
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUH l 0
wEsTERN DIvIsION PH lz= 05

JACQUELINE E. ROBERTS,
Plaintiff,

vs. Docket No.: 04-2027-Ma An

AIR LIQUIDE AMERICA, CORP.,
Defendant.

"_/\_/\_/\_/"/\_/\_/

STIPULATED ORDER OF DISMISSAL
Plaintiff Jacqueline E. Roberts and Defendant Air Liquide lndustrial U.S. LP,
Assignee of Air Liquide America L.P. (improperly named in the action as "Air Liquide
America, Corp.") Would show the Court that their claims have been settled and comprised
Wherefore, upon agreement of the Parties, it is hereby
ORDERED that all claims by the Plaintiffin this action are dismissed With prej udice,
each party to bear its own costs.

jc..wg
ENTEREDihiSiYay ') ,2005.

Honorable Samuel H. Mays, Jr.
U. S. DISTRICT IUDGE

 

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This notice confirms a copy of the document docketed as number 48 in
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Honorable Samuel Mays
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